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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA



HPK MANAGEMENT D.O.O. and HPK
ENGINEERING B.V..

                          Petitioners,
                                                          Civ. No. 1:18-cv-1773
               v.

THE REPUBLIC OF SERBIA and ZELEZARA
SMEDEREVO D.O.O.,

                           Respondents.


     DECLARATION OF GRETTA L. WALTERS IN SUPPORT OF MOTION FOR
                      ADMISSION PRO HAC VICE

I, Gretta L. Walters, hereby declare:

    1. My name, office address, and telephone number are as follows:

       Gretta L. Walters
       Chaffetz Lindsey LLP
       1700 Broadway, 33`d Floor
       New York, New York 10019
       Tel: 212-257-6960

   2. I have been admitted to the following courts and bars:

       New York State Supreme Court (June 15, 2011) (NYS Attorney Registration No.
       4932687)
       Second Circuit Court of Appeals(Nov. 5, 2015)
       U.S. District Court for the Southern District of New York (March 4, 2013)(SDNY Bar
       No.: GW5781)
       U.S. District Court for the Eastern District of New York (April 4, 2013)(EDNY Bar No.:
       GW5781)

   3. I am currently in good standing with all states, courts and bars in which I am admitted.

   4. I have not previously been admitted pNo hac vice in this Court.

   5. I do not have an office located with the District of Columbia.
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      I declare under penalty of perjury that the foregoing is true and correct. Executed in New

   York, New York, this 31st day of July, 2018.



Dated: New York, New York             Respectfully submitted,
       July 31, 2018
                                        CHAFF TZ INDSEY LLP

                                        By:
                                              Gretta L. Walters
                                              1700 Broadway, 33rd Floor
                                              New York, NY 10019
                                              Tel.(212)257-6960
                                              Fax.(212)257-6950
                                              gretta.walters@chaffetzlindsey.com

                                              Attorneys,for Petitioners
                                              HPK Management D.O.O. and
                                              HPK Engineering B. V.




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